          Case 5:17-cv-00024-MTT Document 42 Filed 03/08/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION
                                AT MACON, GEORGIA

                                      MINUTE SHEET
                                  OF COURT PROCEEDINGS

 Date:                    3/8/2018                Type of Hearing:       MSJ hearing

 Judge:                   Marc T. Treadwell       Court Reporter:        Darlene Fuller

 Courtroom Deputy:        Teri L. Hatcher         Law Clerk:             Amble Johnson

 Courtroom:               A

                               Case Number: 5:17-CV-24(MTT)

 Anne King                                        Counsel:               Ken Hodges
                                                                         Andre Tennille
                                                                         CourtneyShelton

          v.

 Corey King                                       Counsel:               Tim Buckley
                                                                         Taylor Hensel

Disclaimer: Contents of this Minute Sheet are for administrative purposes ONLY and are NOT meant as
a substitution for the official court record. Attorneys should contact the court reporter and order a
transcript if there are any questions as to the contents herein.
                                               Court time for JS10/MJSTAR: 51 minutes

 1:27 pm       Called to order. Argument by Mr. Buckley.
 1:50 pm       Argument by Mr. Hodges.
 2:09 pm       Argument by Mr. Buckley.
 2:13 pm       The Court ordered the parties to supplement their briefs simultaneously
               within two weeks on the issue of (1) whether Defendant Burgamy is
               absolved of § 1983 liability if Magistrate Todd ordered or directed him to
               sign an affidavit for Ms. King’s arrest, and (2) Burgamy’s argument that
               the relevant qualified immunity issue is whether it was clearly established
               that an officer was required to refuse to sign an affidavit swearing that
               probable cause existed to arrest a person for violation of a law that has
               been held to be unconstitutional. If a reply is necessary, reply due seven
               days thereafter.
 2:18 pm       Matter concluded.
